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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                         Hon. Brian R. Martinotti

              v.                                  Crim. No. 3: l 8-cr-00757-BRM

 STEVEN BRADLEY MELL                              ORDER TO AMEND JUNE 19, 2018
 a/k/a BRADLEY MELL                               RELEASE CONDITIONS




       This matter having come before the Court on the application of Steven Bradley Mell (by
David J. Bruno, Esq. of the Bianchi Law Group, LLC) for an order amending the release
conditions entered in the above-captioned matter by Hon. Cathy Waldor on June 19, 2018 to
allow for one-time travel exception for a limited period of time to be determined by United
States Pretrial Services for Mr. Mell to travel to Bank of America at 1 Washington St., Rocky
Hill, NJ 08593 to conduct business that can only be done in person at the branch. Specifically, to
close financial accounts no longer in use and add a power of attorney to personal accounts for the
purpose of paying bills during the duration of his sentence; and the Government, through
Assistant United States Attorney Danielle Alfonzo Waisman, having consented to the
amendment; and for good and sufficient cause shown;

       IT IS on this ____ day of March 2019;

       ORDERED that the June 19, 2018 release conditions shall be amended to allow the
Defendant to travel to Bank of America at I Washington St., Rocky Hill, NJ 08593.

       IT IS FURTHER ORDERED that above mentioned travel exceptions to the June 19,
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2018 release conclitio11s arc limited   10   one time nml United States Pretrial Services shall
clctcrm inc the date. time and clurat ion of the travel.




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Counsel for De fendant Steven Bradley Mell


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